         Case 1:20-cv-00503-BRB-CG Document 30 Filed 11/09/20 Page 1 of 3


                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

GARY ALAN SHOUPE,

              Plaintiff,

v.                                                             No. CV 20-503 BRB/CG

UNITED STATES OF AMERICA,

              Defendant.


                   ORDER SETTING ZOOM SETTLEMENT CONFERENCE

       To facilitate a final disposition of this case, a mandatory settlement conference will be

conducted in accordance with Federal Rule of Civil Procedure 16(a)(5). Due to the ongoing

uncertainty created by the Covid-19 pandemic, and the likelihood that the need for social

distancing will continue through the date of the scheduled settlement conference in this case,

the Court will hold the upcoming settlement conference via Zoom.

       The conference will be held on March 15, 2021, at 9:00 a.m. A telephonic status

conference will be held on March 8, 2021, at 2:00 p.m., to discuss the parties’ positions, as

set forth in the Court’s Order Setting Telephonic Pre-Settlement Status Conference, (Doc.

29).

       IT IS HEREBY ORDERED that the parties and a designated representative, other than

counsel of record, with full authority to resolve the case, must attend via Zoom; counsel who

will try the case must also attend via Zoom. All attorneys and parties involved in the

settlement conference must treat as confidential the information discussed, positions taken,

and offers made by other participants in preparation for and during the conference.1


       1.     This does not prohibit disclosures stipulated to by the parties, necessary in
proceedings to determine the existence of a binding settlement agreement, or as otherwise
required by law.
         Case 1:20-cv-00503-BRB-CG Document 30 Filed 11/09/20 Page 2 of 3


      IT IS FURTHER ORDERED that:

      1. By February 17, 2021, Plaintiffs’ counsel shall serve on Defendant’s counsel a
         concise letter that sets forth a settlement demand itemizing the principle supporting
         damages or other relief that Plaintiffs assert would appropriately be granted at trial.

      2. By February 24, 2021, Defendant’s counsel shall serve on Plaintiffs’ counsel a
         concise letter that sets forth a response to the settlement demand.

      3. By March 1, 2021, each party shall provide to the Court:

             a. A copy of each letter that was sent to an opposing party;

             b. A confidential, concise letter containing an analysis of the strengths and
                weaknesses of its case; and

             c. Any video or audio recordings of the incident upon which this action is
                based.

             d. This letter should also contain the email addresses and phone
                numbers for all participants in the settlement conference. This contact
                information will be used to send the invitation to attend the settlement
                conference via Zoom.

          These materials may be submitted to the Court by email:
          garzaschambers@nmd.uscourts.gov

      4. Each of these letters typically should be five (5) pages or fewer, and counsel will
         ensure that each party reads the opposing party’s letter before the settlement
         conference.

      5. Before March 8, 2021, counsel shall confer with one another about their clients’
         respective positions.

      6. On March 8, 2021, at 2:00 p.m., counsel shall call Judge Garza’s AT&T line at
         (877) 810-9415, follow the prompts, and enter access code 7467959, for a pre-
         settlement telephonic status conference

      A party must show good cause to vacate or reschedule the settlement conference.

Any such request must provide the Court with sufficient notice to ensure that other matters

may be scheduled in the time allotted for the settlement conference.




                                               2
  Case 1:20-cv-00503-BRB-CG Document 30 Filed 11/09/20 Page 3 of 3


IT IS SO ORDERED.



                      THE HONORABLE CARMEN E. GARZA
                      CHIEF UNITED STATES MAGISTRATE JUDGE




                                 3
